              Case 5:22-mc-80071-EJD Document 3 Filed 03/16/22 Page 1 of 4



     MATTHEW RAFAT
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 2   Telephone: (408) 379 6069
     willworkforjustice@yahoo.com
 3
 4   Pro se, Proposed Intervenor
 5
                             UNITED STATES DISTRICT COURT
 6
                           NORTHERN DISTRICT OF CALIFORNIA
 7
                                    SAN JOSE DIVISION
 8
 9     UNITED STATES OF AMERICA,              Case No: 18-cr-00258-EJD-2
10           Plaintiff,                       [Mistakenly assigned civil case number
                                              5:22-mc-80071-EJD]
11     v.
                                              DECLARATION IN SUPPORT OF
12     ELIZABETH A. HOLMES and                STRIKING JUDGE EDWARD
       RAMESH “SUNNY” BALWANI,
13                                            DAVILA UNDER 28 USC 144
             Defendants.
14                                            Date:     April 25, 2022
15                                            Time:     1:30PM
                                              Judge:    TBD
16
                                              [Case needs to be re-assigned to a
17
                                              different judge pursuant to declaration
18                                            filed on March 14, 2022 and herein and
                                              then set up in CM/ECF to ensure all
19                                            parties in related criminal case are e-
20                                            served]

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     DECLARATION IN SUPPORT OF STRIKING JUDGE EDWARD DAVILA                         1
             Case 5:22-mc-80071-EJD Document 3 Filed 03/16/22 Page 2 of 4




                             DECLARATION OF MATTHEW RAFAT
 1
 2     1. I, Matthew Rafat, hereby state and declare as follows:

 3     2. I reside in Santa Clara County, California and am a member of the press. The facts stated

 4        herein are true of my own personal knowledge, except for those based on information and
 5
          belief, and as to those facts, I believe them to be true. If called as a witness, I could and
 6
          would competently testify to the following facts:
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       3. On March 14, 2022, I submitted two filings: 1) motion for intervenor status; and 2) a
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          document striking Judge Edward J. Davila in the Northern District, San Jose division,
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10        from further proceedings related to myself. The motion stated, “I believe in good faith

11        Judge Edward J. Davila has a personal bias or prejudice against me for reasons stated in
12        detail in a concurrently filed motion. That FRCP 24 motion cites facts relating to alleged
13
          violations of the AO Manual by Judge Davila and/or his staff.”
14
       4. The document referenced directly above cited 18 USC 144 rather than 28 USC 144;
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          nevertheless, the substance complied with the requirements of 28 USC 144, and once
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17        filed on March 14, 2022, bars Judge Edward J. Davila from further involvement in

18        matters related to the undersigned in USA v. Balwani. See 28 USC 144: “Whenever a

19        party to any proceeding in a district court makes and files a timely and sufficient affidavit
20        that the judge before whom the matter is pending has a personal bias or prejudice either
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          against him or in favor of any adverse party, such judge shall proceed no further therein,
22
          but another judge shall be assigned to hear such proceeding.”
23
       5. Despite the filing of a peremptory strike against Judge Davila, on March 16, 2022,
24
25        Northern District staff member Snooki Puli wrote, “The hearing date for your motion [for

26        intervenor status in 18-cr-00258-EJD-2] is set for April 25, 2022 at 1:30pm before Judge

27        Davila in Courtroom 4 at the federal courthouse in San Jose.” Cita Escolano, the criminal
28
          docket clerk, was copied on the email.

     DECLARATION IN SUPPORT OF STRIKING JUDGE EDWARD DAVILA                                           2
               Case 5:22-mc-80071-EJD Document 3 Filed 03/16/22 Page 3 of 4




        6. It appears court staff assigned a civil case designation in CM/ECF to the undersigned’s
 1
 2          filings as follows: 5:22-mc-80071-EJD. It is unclear whether this civil designation within

 3          CM/ECF is set to e-serve relevant parties in USA vs. Balwani, 18-cr-00258-EJD-2, the

 4          criminal case in which the undersigned is seeking intervenor status. In addition, the
 5
            CM/ECF filing for 5:22-mc-80071-EJD now states, “no associations for this case” under
 6
            “Associated Cases.” Furthermore, as of today, despite the fact that the undersigned’s
 7
            declaration filed on March 14, 2022 requires assignment of another judge to hear his
 8
            motion for intervenor status, no notification of judicial assignment has been received.
 9
10      7. After being unable to receive a rational explanation for why his motion was classified as

11          a civil matter and not linked to the relevant criminal case, the undersigned spoke today
12          via amplified telephone with a “William” or “Ryan” in the Northern District, who
13
            indicated he would take the issues above to his supervisor; however, at end of day, the
14
            issues above have not been explained or resolved.
15
        8. Local Rule 5-1 allows the undersigned to e-file this document and others: “After
16
17          manually filing case-initiating documents, pro se parties may file subsequent documents

18          in the same case manually, or may register for ECF and file subsequent documents in the

19          same case electronically.”
20      9. I declare under penalty of perjury under the laws of the State of California that the
21
            foregoing is true and correct. Executed March 16, 2022 at San Jose, California.
22
     Dated: March 16, 2022                                               __________________
23                                                                       Matthew Rafat
24                                CERTIFICATE OF GOOD FAITH
25
     The above filing is made in good faith.
26
     Dated: March 16, 2022                                               __________________
27                                                                       Matthew Rafat
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     DECLARATION IN SUPPORT OF STRIKING JUDGE EDWARD DAVILA                                           3
               Case 5:22-mc-80071-EJD Document 3 Filed 03/16/22 Page 4 of 4




                                      CERTIFICATE OF SERVICE
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 2   I hereby certify that on March 16, 2022, a copy of this filing and proposed order was delivered
     via email on all counsel of record by the undersigned to this case. Counsel of record are part of
 3
     the CM/ECF system and have therefore consented to electronic service. If any counsel indicates
 4
     in writing they wish to receive a paper copy of this filing, I further certify that I or another person
 5
     will mail them once given their preferred address. A chambers copy will be mailed to the Clerk’s
 6   Office (Robert F. Peckham Federal Building & U.S. Courthouse, 280 South 1st Street, Room
 7   2112, San Jose, CA 95113) pursuant to Judge Davila’s standing order.

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 9                                                                  Matthew Rafat
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     DECLARATION IN SUPPORT OF STRIKING JUDGE EDWARD DAVILA                                             4
